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                                 UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION


 IN RE NATIONAL PRESCRIPTION                      MDL No. 2804
 OPIATE LITIGATION
                                                  Case No. 17-md-2804
 This document relates to:
                                                  Judge Dan Aaron Polster
 PBM Bellwether Cases



                  PLAINTIFFS’ MOTION TO SERVE ADDITIONAL DISCOVERY

          PBM Bellwether Plaintiffs request leave to serve additional written discovery requests

pursuant to this Court’s Order (Doc #: 5282) (Filed: 12/28/23) (“PBM CMO-1”) which states:

“The Parties may seek to propound additional requests for production and interrogatories after the

Court rules on Plaintiffs’ motion for leave to amend their complaints.” (PBM CMO-1, p. 5). The

motion for leave to amend was granted. See Order Granting Plaintiffs' Motion For Leave To

Amend And Supplement Complaints (Doc #: 5319) (Filed: 02/20/24) making this motion ripe and

timely.

          The PEC served initial discovery on December 29, 2023, which included interrogatories

and request for production of documents (attached as Exhibit 1). Defendant PBMs responded with

485 pages of objections on January 29, 2024. Since that time, numerous meet and confers have

taken place yielding very little in substantive answers and/or responsive documents. Newly

discovered documents from Purdue Pharma’s prior productions reveals deeply rooted contractual

relationships with the PBM Defendants and promotional activities related to OxyContin.

Nonetheless, PBM Defendants continue to contest and refuse to comply with basic discovery

requests. For example, though ESI purports to have addressed Plaintiff’s complaints regarding
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ESI’s initial discovery responses by recently serving “Amended” responses, those Amendments

incorporate the objections from ESI’s original responses and provide almost no substantive

information. When faced with similar intransigence in the past with other defendants1, this Court

permitted the PEC to serve additional discovery to prioritize, clarify and specify the production of

certain documents. Anticipating the PBM Defendants will argue the PEC has exceeded its allotted

number of interrogatories and requests for production of documents, ironically in the face of

objecting to every propounded discovery request, the PEC seeks leave to serve the attached

supplemental discovery and requests the Court order the PBMs to respond immediately.

        Because these requests prioritize and clarify the previously served requests in response to

PBM Defendants’ objections (including vagueness), the PEC submits these requests should not be

separately counted against the number of requests which the Plaintiffs are permitted to serve under

the applicable CMOs. In making this request, the PEC does not concede that the previous requests

were impermissibly vague, but rather, the PEC makes this motion in an effort to resolve a discovery

stalemate and obtain the foundational documents necessary to inform additional requests. PEC

reserves the right to seek to issue further discovery beyond these threshold issues regarding

additional aspects of the PBMs’ operations and Plaintiffs’ allegations, including, but not limited

to, Mail Order Pharmacy Operations.

        WHEREFORE, the PBM Bellwether Plaintiffs request leave to serve the attached

discovery (Exhibit 2) to supplement, clarify and/or prioritize the initial discovery requests and

request a hearing, with the Court if necessary.




1
  This Court previously addressed a similar roadblock during the November 20, 2018, status
conference and permitted the PEC to serve additional discovery to prioritize and clarify the
discovery needs of the case. See, e.g., Doc. #s: 1147, 1161, 1147 and 1169.



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April 2, 2024                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
       I hereby certify that on April 2, 2024, I electronically filed the foregoing with the Clerk of
Court by using the CM/ECF system. Copies will be served upon counsel of record by, and may
be obtained through, the Court CM/ECF system.


                                              s/ Peter H. Weinberger
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